      Case 2:18-cv-04447-ER Document 52 Filed 12/30/20 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BRIAN D. WHITMORE,               :     CIVIL ACTION
                                 :     NO. 18-4447
         Plaintiff,              :
                                 :
    v.                           :
                                 :
                                 :
NATIONAL RAILROAD PASSENGER      :
CORPORATION,                     :
                                 :
         Defendant.              :


                                 ORDER

         AND NOW, this 30th day of December, 2020, after

considering Defendant’s Motion for Summary Judgment (ECF No.

43), Plaintiff’s Response thereto (ECF No. 46), and Defendant’s

Reply (ECF No. 47), and holding a hearing on the record, it is

hereby ORDERED, for the reasons set forth in the accompanying

memorandum, that Defendant’s Motion for Summary Judgment (ECF

No. 43) is GRANTED in part and DENIED in part, as follows:

    1.   Defendant’s Motion for Summary Judgment is

         GRANTED as to the hostile work environment and

         retaliation theories with respect to Counts II and

         III.

    2.   Defendant’s Motion for Summary Judgment is DENIED

         as to the discrimination theories with respect to

         Counts I, II, and III.
      Case 2:18-cv-04447-ER Document 52 Filed 12/30/20 Page 2 of 2




    It is FURTHER ORDERED that Defendant’s Motion for Leave to

File a Reply (ECF No. 47) is GRANTED.



         AND IT IS SO ORDERED.



                           /s/ Eduardo C. Robreno
                           EDUARDO C. ROBRENO, J.




                                   2
